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November 4, 2024

VIA ECF

The Honorable Dale E. Ho
United States District Judge
Southern District of New York
Thurgood Marshall United States Courthouse
40 Foley Square, Courtroom 905
New York, New York 10007

Re:     United States v. Adams, 24 Cr. 556 (DEH)

Dear Judge Ho:

         During Friday’s hearing on Mayor Adams’s motion to dismiss Count V of the Indictment,
the government referred to two cases where courts declined to dismiss indictments under Snyder
v. United States, 144 S. Ct. 1947 (2024). One of these cases was Judge Rochon’s recent decision
in United States v. Starks, No. 1:24-cr-126, 2024 WL 4528169 (S.D.N.Y. Oct. 18, 2024)
(Exhibit A). Because Starks was newly raised by the government, Mayor Adams submits this
letter as a response to the government’s verbal notice of supplemental authority.1 Starks does not
support the government’s position in this case and, if anything, supports Mayor Adams’s argument
about Snyder.

       In Starks, the defendant was a superintendent with the New York City Housing Authority
(NYCHA). Ex. A at 1. Starks was indicted on one count of federal program bribery under 18
U.S.C. § 666(a)(1)(B) for soliciting and accepting bribes in exchange for arranging for contractors
to receive no-bid contracts from the NYCHA. See ibid. Starks moved to dismiss the
§ 666(a)(1)(B) charge, arguing that, after Snyder, the allegations in the indictment and underlying
complaint were best characterized as gratuities. See No. 1:24-cr-126, ECF 17. In particular, Starks
emphasized the timing of the alleged payments as occurring after the relevant contracts had been
awarded. See, e.g., id. at 2 (“No matter what those contractors may have hoped to achieve by
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   See, e.g., United States v. Ragano, 2024 WL 3302673, at *3 n.6 (E.D.N.Y. July 3, 2024); United States
v. Bin Wen, 2018 WL 6715828, at *3 (W.D.N.Y. Dec. 21, 2018); United States v. Johnson, 886 F. Supp.
1057, 1061 (W.D.N.Y. 1995); see also United States v. Hild, 644 F. Supp. 3d 7, 24 (S.D.N.Y. 2022); Gluck
v. Hecla Mining Co., 657 F. Supp. 3d 471, 480 (S.D.N.Y. 2023).

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giving Starks money after he had awarded them no-bid contracts, following the decision in Snyder,
such payments would not render Starks guilty of a crime under [Section] 666.”); id. at 7 (“This
charging language is consistent with Starks awarding a no-bid contract to a contractor and then
asking that contractor for a gift.”).

       Judge Rochon denied the motion to dismiss and rejected Starks’s argument about Snyder.
See Ex. A at 2-3. Judge Rochon stressed that, under Snyder, the “key inquiry is . . . ‘the timing of
the agreement’ between the parties, ‘not the timing of the payment.’” Id. at 3 (quoting Snyder,
144 S. Ct. at 1959). She noted that Snyder interpreted Section 666 to also “capture those
arrangements where payment is received only after the official act has been rendered, but pursuant
to an existing agreement.” Ibid. (citing Snyder, 144 S. Ct. at 1959). Accordingly, Starks’s
argument about the timing of payments “misse[d] the mark.” Ibid.

       That holding has no bearing on the present case. The defendant in Starks emphasized the
timing of alleged payments, while Mayor Adams has consistently focused on the timing of an
alleged agreement. See Motion to Dismiss at 13-15; Reply at 7-9. The defendant in Starks did not
dispute that his alleged actions—awarding no-bid contracts to private contractors—satisfied the
“quo” standard of Section 666, whereas Mayor Adams has consistently asserted that the Indictment
does not sufficiently allege an agreement involving the sort of quo required by Section 666. See
Motion to Dismiss at 10-13, 16-20; Reply at 9-10.

         Furthermore, Starks actually supports Mayor Adams’s argument that Section 666 contains
an official-act requirement. See Motion to Dismiss at 7-9; Reply at 3-4. Judge Rochon twice
mentioned the term “official act” in applying the Supreme Court’s decision in Snyder, consistent
with the understanding that Snyder construed Section 666’s quo standard to connote an official
act. See, e.g., Ex. A at 3 (discussing “arrangements where payment is received only after the
official act has been rendered”) (emphasis added). Insofar as the Court deems Starks relevant to
its disposition of the pending motion to dismiss, Judge Rochon’s decision only fortifies Mayor
Adams’s argument about Snyder.

        Mayor Adams accordingly reiterates his request that the Court dismiss Count V and allow
this case to proceed to trial on the remaining charges (unless the government can convince the
grand jury to return a legally sufficient bribery charge). If anything, Starks confirms the proper
remedy here. And even if there were any doubts as to whether the charged conduct satisfied
Section 666 (there is none), fundamental principles of lenity, see United States v. Davis, 588 U.S.
445, 464-65 (2019), and fair notice, see Snyder, 144 S. Ct. at 1958–59, would demand a resolution
in favor of dismissal—not a potentially decade-long prison sentence under the government's
breathtaking interpretation of the statute.

Respectfully submitted,



Alex Spiro




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